Case 2:17-cv-02189-DDC-GEB Document 1 Filed 03/31/17 Page 1 of 16

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF KANSAS

JoHN DoE 58, an individual
PLAINTIFF,

VS.

THE UNIVERSITY OF KANSAS,
Serve at:

C/O Derek Schmidt
Attorney General
State of Kansas

120 SW Tenth Avenue
Topeka, Kansas 66612

JURY TRIAL DEMANDED

Case No.

And PROFESSOR J.S., in his official capacity
and Individually,

Serve at:
445 Adam Ave
Lawrence, KS 66047-1878

\-/VVV\/\./\./\/\./\-/V\-/V\'/\/VV\-/\'/\/VVVVV

DEFENDANTS.

PLAINTIFFS’ PETITION FOR DAMAGES
COMES NOW Plaintiff and for his cause of action against the Defendants allege as follows:
l. Plaintiff John Doe 58 brings this lawsuit to seek compensation and redress for
harms he suffered as a result of the hostile educational environment created by Defendant J.S.
and Defendant The University of Kansas in violation of Title IX of the Education Amendments

of 1972, 2() U.S.C. § l681(a) and Kansas common laW.

Case 2:17-cv-02189-DDC-GEB Document 1 Filed 03/31/17 Page 2 of 16

JURISDICTION AND VENUE
2. This Court has jurisdiction over the causes of action asserted herein and over the
parties to this action. Plaintiffs assert claims under Title IX of the Education Amendments of
1972, 20 U.S.C. § l681(a) and under Kansas common law.
3. Venue is proper in this Court pursuant to 28 U.S.C. § l391(b) since most if not if
not all of the alleged acts and wrongdoing occurred in Douglas County and the Defendant The

University of Kansas is located and conducts its business in the District of Kansas.

PARTIES
4. Plaintiff John Doe 58 is an adult male and resides in Johnson County, Kansas.
5. Defendant University of Kansas is located in Douglas County, Kansas. (Hereinafter
“KU”)
6. Defendant J.S. is an adult male and resides in Douglas County, Kansas.
7. At all times material, Defendant KUwas and continues to be a corporation doing

business in Kansas with its principal place of business located at 1450 Jayhawk Blvd. Lawrence,
KS 66045.

8. At all times relevant, KU faculty and staff were under the direct supervision and
control of Defendant.

BACKGROUND FACTS APPLICABLE TO ALL COUNTS

 

9. At all times relevant, Professor J.S. was employed as a professor by KU.
lO. ln the spring of 201 5, Professor J.S. was Plaintiff’ s theater professor.
l l. During the spring of 201 5, Professor J.S. showed a high level of interest in Plaintiff.

l2. ln the spring of 2015, Professor J.S. invited Plaintiff to his home for dinner.

l3. Professor J.S. told Plaintiff that other students would be in attendance, but when

2

Case 2:17-cv-02189-DDC-GEB Document 1 Filed 03/31/17 Page 3 of 16

Plaintiff arrived, he was the only student present.

l4. When Plaintiff arrived, Professor J.S. was intoxicated.

15. Professor J.S. sexually assaulted Plaintiff by forcefully kissing him and grabbing
his genitals.

16. At no point in time did Plaintiff solicit or welcome Professor’s J.S.’s sexual
advances.

l7. Soon after the sexual assault took place, Plaintiff reported it to KU’s Office of
lnstitutional Opportunity and Access (“IOA”).

18. IOA is responsible for:

a) offering assistance and protective measures to students, faculty, and staff
who report acts of harassment, discrimination, sexual misconduct, sexual
violence, and retaliation;

b) providing information about health, safety, advocacy, and support resources
for members of the Lawrence and Edwards campuses;

c) performing formal investigations to detect, discontinue, and prevent
violations of the Non-Discrimination Policy and Sexual Harassment Policy
and;

d) ensuring University compliance with state and federal civil rights laws.

19. IOA began an “investigation” into Plaintiff’s claims, but that investigation was
inadequate and never completed

20. During the investigation, Plaintiff believes the investigators engaged in victim
blame and victim shaming instead of investigating the allegations of the complaint.

2l. Before the investigation was complete, the investigators assigned left their

3

Case 2:17-cv-02189-DDC-GEB Document 1 Filed 03/31/17 Page 4 of 16

position. ln violation of IOA and Title IX policies, KU never continued or completed the
investigation

22. At the time of those events, KU knew or should have known that Professor J.S.
sexually assaulted at least one other student prior to his assault on Plaintiff.

23. KU had previously conducted an investigation into Professor J.S.’s drunkenness and

established that it adversely affected his job performance.

24. Professor J.S. was not disciplined or terminated for his prior sexual assaults and
drunkenness nor was he disciplined or terminated for his sexual assault upon Plaintiff.

25. As a result of the assault and KU’s actions, Plaintiff had difficulty returning to
class.

26. Because Plaintiff was not able to attend class as a result of the assault, he was
ineligible for financial aid and unable to afford his education.

27. ln violation of Title IX and IOA policies, failed to protect Plaintiff from the assault
and following the assault failed to render services and care to facilitate his re-integration into the
classroom free from harassment

28. When Plaintiff returned to KU in the fall of 201 5, he enrolled in a Movement class
with Professor Leslie Bennett.

29. On several occasions, a student within the class (“John Doe G”), harassed Plaintiff
by making inappropriate sexual comments toward Plaintiff in class, staring at Plaintiff’s butt

while he stretched and positioning himself as Plaintiff s partner during classroom activities.

30. ln one instance, John Doe G put his hands on Plaintiff in a sexually overt manner.
31. At no point in time did Plaintiff solicit or welcome John Doe G’s sexual advances.
32. At all relevant times, Professor Bennett observed John Doe G’s harassing behavior

4

Case 2:17-cv-02189-DDC-GEB Document 1 Filed 03/31/17 Page 5 of 16

toward Plaintiff and took no protective or preventative action.

33. Plaintiff asked Professor Bennett to report John Doe G’s actions to lOA.

34. Instead of reporting the harassment as mandated by IOA and Title lX, Professor
Bennett called the counseling services. Plaintiff was counseled about homophobia and anger
issue.

35. John Doe G continued to harass Plaintiff. On one occasion, John Doe G screamed
at Plaintiff and accused him of calling John Doe G a “faggot”, which did not occur.

36. The next day, Professor Bennett repeatedly called and texted Plaintiff expressing
her anger at Plaintiff over John Doe G’s unsubstantiated report. When Plaintiff arrived at school
he was immediately sent to the counseling office. Plaintiff’s complaints of harassment were not
addressed

37. Upon information and belief, Defendant J.S. was subsequently fired by KU.

38. IOA also began an investigation into Plaintiff’s complaints of sexual harassment

39. IOA’s investigation into Plaintist claims of sexual harassment was inadequate,
incomplete and non-compliant with Title IX and/or other rules, regulations and statutes
concerning discrimination and/or sexual assault.

40. IOA failed to perform formal investigations to prevent and stop or discipline
discrimination and/or sexual harassment

4l. lnstead, on several occasions, Plaintiff was repeatedly requested by officials on
behalf of KU and IOA to sign documents saying that IOA had conducted a thorough investigation
into all of Plaintiff s claims of sexual assault and harassment

42. These documents also contained language releasing KU from any liability for

Plaintiff s harms. Plaintiff did not sign these documents.

5

Case 2:17-cv-02189-DDC-GEB Document 1 Filed 03/31/17 Page 6 of 16

43. As a result of KU’s actions and failure to act, the Plaintiff was forced to leave KU
in April of 2016.
44. As direct result of the Defendants’ actions, Plaintiff has been caused to suffer

from suicidal thoughts, panic attacks, PTSD, chronic depression and generalized anxiety disorder.
Plaintiff also suffers shock, emotional distress, physical manifestations of emotional distress,
embarrassment, and loss of self-esteem, disgrace, humiliation and loss of enjoyment of life,
missed educational opportunities and out of pocket costs. Plaintiff has sustained or may in the
future sustain expenses for medical and psychological treatment, therapy and counseling claims

as well as lost earnings and/or earning capacity.

_C_O_lllm
TITLE Ix DISCRIMINATIoN AND sExUAL HARAssMENT_
HosTILE EDUCATIONAL ENvIRoNMENT

45. Plaintiff incorporates the above referenced paragraphs of this Petition as if fully set

forth herein.

46. Plaintiff was a victim of sexual assault by Professor J.S., an employee of
Defendant KU who had a history of sexually assaulting students

47. Plaintiff also suffered sexual harassment at the hands of John Doe G, a fellow
KU student.

48. Plaintiff suffered discrimination on the basis of his gender when Defendant
KU failed to conduct an adequate investigation into Plaintiff s reports of sexual assault and
harassment

49. KU had actual knowledge that Professor J.S. sexually assaulted Plaintiff and

that Plaintiff was sexually harassed by John Doe G.
6

Case 2:17-cv-02189-DDC-GEB Document 1 Filed 03/31/17 Page 7 of 16

50. KU was deliberately indifferent to the harassment Plaintiff suffered, in that:

a) KU failed to take reasonable steps to prevent sexual assault and harassment,
including failing to offer assistance and protective measures to students, faculty, and
staff who report acts of harassment, discrimination, sexual misconduct, sexual violence,
and retaliation;

b) KU denied Plaintiff the service of lOA’s investigation on the basis of
Plaintiff s sex;

c) KU perpetuated discrimination and harassment against Plaintiff by failing to
discipline or reprimand John Doe G for sexually harassing Plaintiff;

d) KU failed to prevent Professor J.S., a known sexual predator, from sexually
assaulting Plaintiff and other KU students;

e) KU failed to reprimand Professor J.S. pending the outcome of KU’s
investigation following Plaintiff’ s claim of sexual assault;

f) KU failed to discipline, train or supervise its employees, causing them to fail
to comply with IOA and Title IX policies;

g) KU failed to conduct an expedient investigation or hold a timely hearing in
order to resolve Plaintiff” s report;

h) KU unlawfully intimidated Plaintiff in an effort to avoid liability for its lack
of investigation into Plaintiff s Title lX reports.

i) KU’s conduct is prohibited by Title IX.

5l. The sexual harassment and assault was unwelcome, severe, pervasive and
objectively offensive and deprived Plaintiff of access to the educational benefits and opportunities

KU offered

Case 2:17-cv-02189-DDC-GEB Document 1 Filed 03/31/17 Page 8 of 16

52. The harassment had the systematic effect of depriving Plaintiff of access to
educational benefits or opportunities

53. Defendant KU’s corrective or preventive opportunities regarding Plaintiff’ s report
of sexual harassment and retaliation, if any, were unreasonable and inadequate

54. Defendant KU’s indifference and resulting inaction was wanton, willful and with
reckless disregard and neglect of Plaintiff’ s rights, safety and well being.

55. As a direct and proximate result of the Defendants’ actions, Plaintiff has been
caused to suffer from suicidal thoughts, panic attacks, PTSD, chronic depression and generalized
anxiety disorder. Plaintiff also suffers shock, emotional distress, physical manifestations of
emotional distress, embarrassment, and loss of self-esteem, disgrace, humiliation and loss of
enjoyment of life, missed educational opportunities and out of pocket costs. Plaintiff has sustained
or may in the future sustain expenses for medical and psychological treatment, therapy and
counseling claims, as well as lost earnings and/or earning capacity.

M_I_I_I
TITLE IX RETALIATION

56. Plaintiff incorporates the above referenced paragraphs of this Petition as if fully set

herein.
57. Plaintiff engaged in a protected activity under Title lX when he:
a) Reported his sexual assault;
b) Reported his sexual harassment;
c) Participated in a group IOA meeting with the IOA care coordinator
regarding the sexual assault and harassment
58. As a result of engaging in this protected activity, Plaintiff suffered adverse actions,
including:

Case 2:17-cv-02189-DDC-GEB Document 1 Filed 03/31/17 Page 9 of 16

a) Financial aid withholding disbursement of educational funds;

b) Acts of intimidation by KU;

c) l-lalting and ceasing any further investigation into Plaintiff s reports;

d) Engaging in intimidation and harassment of Plaintiff;

e) Soon after Plaintiff made his Title lX reports KU terminated the three IOA
investigators assigned to Plaintiff’ s case effectively ending investigation into Plaintiff’s
reports.

59. Defendant KU’s administration had actual knowledge of the retaliation Plaintiff was
suffering

60. KU failed to supervise employees that had the means and authority to stop the
harassment Plaintiff experienced

6l. Defendant’s indifference and resulting inaction was deliberate, wanton, willful and
with reckless disregard and neglect of Plaintiff s rights, safety and well-being.

62. As a direct and proximate result of the Defendants’ actions, Plaintiff has been
caused to suffer from suicidal thoughts, panic attacks, PTSD, chronic depression and generalized
anxiety disorder. Plaintiff also suffers shock, emotional distress, physical manifestations of
emotional distress, embarrassment, and loss of self-esteem, disgrace, humiliation and loss of
enjoyment of life, missed educational opportunities and out of pocket costs. Plaintiff has sustained
or may in the future sustain expenses for medical and psychological treatment, therapy and
counseling claims as well as lost earnings and/or earning capacity.

_C_Mm
AssAULT AND/oR BATTERY

63. Plaintiff incorporates the above referenced paragraphs of this Petition as if set forth

herein.

Case 2:17-cv-02189-DDC-GEB Document 1 Filed 03/31/17 Page 10 of 16

64. Defendant J .S. engaged in sexual conduct and contact upon the person of the
Plaintiff.

65. The sexual touching of Plaintiff was done with the intention of bringing about a
harmful or offensive contact.

66. Defendant J.S.’s unwanted sexual touching of Plaintiff would be harmful and
offensive to any reasonable person.

67. The threat and act of sexual touching of Plaintiff was done with the intention to
place him in fear of imminent danger.

68. Plaintiff did not consent to the battery.

69. Defendant J .S.’s actions were willful, wanton or reckless for which punitive
damages and/or an award for aggravating circumstances are appropriate

70. Defendant KU aided and abetted the sexual assault of the Plaintiff in that if knew
of Professor J.S.’s propensity to sexually assault students but ratified that behavior in continuing
to employ J.S. and grant him authority to interact with students in unsupervised settings.

71. As a direct and proximate result of the Defendant’s actions, Plaintiff has been
caused to suffer from suicidal thoughts, panic attacks, PTSD, chronic depression and generalized
anxiety disorder. Plaintiff also suffers shock, emotional distress, physical manifestations of
emotional distress, embarrassment, and loss of self-esteem, disgrace, humiliation and loss of
enjoyment of life, missed educational opportunities and out of pocket costs. Plaintiff has
sustained or may in the future sustain expenses for medical and psychological treatment, therapy

and counseling claim, as well as lost earnings and/or loss earning capacity.

10

Case 2:17-cv-02189-DDC-GEB Document 1 Filed 03/31/17 Page 11 of 16

Q_O_Um
oUTRAGEoUs CoNDUCT

72. Plaintiff incorporates the above referenced paragraphs of this Petition as if fully set
forth herein.

73. At all times relevant, Defendants engaged in extreme and outrageous conduct,
intended to cause or committed in reckless disregard of the probability of causing emotional
distress and harm.

74. Defendants engaged in unconscionable conduct beyond all possible bounds of
decency and utterly intolerable in a civilized society. Defendants’ conduct caused Plaintiff
severe and extreme emotional distress of such a nature that no reasonable person in a civilized
society could be expected to endure it.

75. Plaintiff suffered medically significant and diagnosable distress as a result of
Defendants’ actions as set forth in the Background Facts Applicable to all Counts.

76. As a direct and proximate result of the Defendants’ actions, Plaintiff has been
caused to suffer from suicidal thoughts, panic attacks, PTSD, chronic depression and generalized
anxiety disorder. Plaintiff also suffers shock7 emotional distress, physical manifestations of
emotional distress, embarrassment, and loss of self-esteem, disgrace, humiliation and loss of
enjoyment of life, missed educational opportunities and out of pocket costs. Plaintiff has
sustained or may in the future sustain expenses for medical and psychological treatment, therapy

and counseling claims, as well as lost earnings and/or loss earning capacity.

ll

Case 2:17-cv-02189-DDC-GEB Document 1 Filed 03/31/17 Page 12 of 16

COUNT V
NEGLIGENT SUPERVISION, RETENTION AND FAILURE TO WARN
(Defendant KU)

77. Plaintiff incorporates the Background Facts Applicable to all Counts as if fully set
forth herein.

78. At all times material, Defendant KU supervised Defendant J.S., a professor at KU.

79. Defendant KU owed Plaintiff and other students a duty of care because Plaintiff
was a student at KU, a status the Defendant KU invited

80. Defendant KU knew that Plaintiff was sexually assaulted by Defendant J.S.

81. Defendant KU knew or reasonably should have known of the dangerous and
exploitative propensity of Defendant J.S. prior to his assault of Plaintiff and knew that harm was
foreseeable to students with whom J.S. interacted.

82. Defendant KU knew or reasonably should have known that Defendant J.S.
previously sexually assaulted other KU students, but despite that knowledge, negligently
retained and / or failed to supervise J.S. in his position of trust, allowing him to commit acts of
sexual assault against Plaintiff.

83. Defendant KU knew or reasonably should have known that Defendant J.S.
presented a substantial risk of harm to students but failed to warn, notify or report this knowledge
to anyone with authority, including the authorities or Plaintiff.

84. Defendant KU failed to provide reasonable supervision of J.S., failed to use

reasonable care in investigating, hiring and retaining J.S. and failed to provide adequate

warning to Plaintiff or other students of Defendant J.S.’s dangerous propensities.

85. Defendant KU breached its duty of care by failing to remove Defendant J.S.,

failing to report Defendant J.S., and failing to protect the Plaintiff and other students.

12

Case 2:17-cv-02189-DDC-GEB Document 1 Filed 03/31/17 Page 13 of 16

86. Defendant KU breached their duty of care by failing to supervise Defendant
J.S. appropriately, including failing to supervise his activities with students, allowing him to
have access to students after Defendant KU had reason to know of his dangerousness

87. Defendant KU breached their duty of care by inviting Plaintiff as a student, and
then actually increasing the likelihood that the Plaintiff Would be harmed by placing a sexual
predator in his presence

88. Defendant KU disregarded the known risk of sexual assault.

89. Defendant KU’s actions caused injury to Plaintiff as he was sexually assaulted

90. As a direct and proximate result of the Defendant KUs’ actions, Plaintiff has been
caused to suffer from suicidal thoughts, panic attacks, PTSD, chronic depression and generalized
anxiety disorder. Plaintiff also suffers shock, emotional distress, physical manifestations of
emotional distress, embarrassment, and loss of self-esteem, disgrace, humiliation and loss of
enjoyment of life, missed educational opportunities and out of pocket costs. Plaintiff has
sustained or may in the future sustain expenses for medical and psychological treatment, therapy
and counseling claims as well as lost earnings and/or earning capacity.

COUNT VI
NELGIGENT INFLICTION OF EMOTIONAL DISTRESS

91. Plaintiff incorporates the Background Facts Applicable to all Counts and Count V as
if fully set forth herein.

92. Defendant J.S. sexually assaulted Plaintiff when he forcefully kissed Plaintiff and
grabbed his genitals without Plaintiff’ s consent.

93. The sexual assault was a physical impact upon the person of Plaintiff.

94. Defendant J.S.’s actions inflicted emotional distress upon Plaintiff.

13

Case 2:17-cv-02189-DDC-GEB Document 1 Filed 03/31/17 Page 14 of 16

95. Defendant KU ratified the behavior of Defendant J.S., rendering it liable for J.S.’s
actions.

96. As a direct and proximate result of the Defendant’s actions, Plaintiff has been
caused to suffer from suicidal thoughts, panic attacks, PTSD, chronic depression and generalized
anxiety disorder. Plaintiff also suffers shock, emotional distress, physical manifestations of
emotional distress, embarrassment, and loss of self-esteem, disgrace, humiliation and loss of
enjoyment of life, missed educational opportunities and out of pocket costs. Plaintiff has
sustained or may in the future sustain expenses for medical and psychological treatment, therapy

and counseling claims as well as lost earnings and/or earning capacity.

COUNT VII
NEGLIGENCE
(Defendant KU)
97. Plaintiff incorporates the Background Facts Applicable to all Counts and Count V
and VI as if fully set forth herein.
98. Defendant KU owed Plaintiff and other students a duty of care because Plaintiff
was a student at KU, a status Defendant KU invited
99. Defendant KU breached its duty to Plaintiff in the following ways:
a) Failing to conduct a reasonable investigation into Plaintiff s complaint of
harassment;
b) F ailing to reasonably investigate or otherwise handle Plaintiff’ s Title IX
complaints and/or common law complaints regarding the actions of Professor J.S.

c) Failing to continue investigation of Plaintiff s Title IX report after the

investigating IOA officers left their employment with KU;

14

Case 2:17-cv-02189-DDC-GEB Document 1 Filed 03/31/17 Page 15 of 16

d) Failing to address John Doe G’s sexual harassment of Plaintiff while both

students were in class;

e) Failing to ameliorate the harm caused to Plaintiff;

f) Failing to provide supportive care to Plaintiff as he re-integrated into the
classroom;

g) Failing to supervise employees that had the means and authority to stop the

harassment Plaintiff experienced;

h) Failing to prevent Professor J.S., a known sexual predator, from sexually
assaulting Plaintiff and other KU students;

i) Failing to reprimand Professor J.S. pending the outcome of KU’s
investigation following Plaintiff s claim of sexual assault;

j ) Failing to discipline, train or supervise its employees, causing them to fail to
comply with IOA and Title lX policies;

k) Failing to conduct an expedient investigation or hold a timely hearing in
order to resolve Plaintiff s report;

l) Other similar actions that resulted in Plaintiff s harm.

100. As a direct and proximate result of the Defendant’s actions, Plaintiff has been
caused to suffer from suicidal thoughts, panic attacks, PTSD, chronic depression and generalized
anxiety disorder. Plaintiff also suffers shock, emotional distress, physical manifestations of
emotional distress, embarrassment, and loss of self-esteem, disgrace, humiliation and loss of
enjoyment of life, missed educational opportunities and out of pocket costs. Plaintiff has
sustained or may in the future sustain expenses for medical and psychological treatment, therapy

and counseling claims as well as lost earnings and/or earning capacity.

15

Case 2:17-cv-02189-DDC-GEB Document 1 Filed 03/31/17 Page 16 of 16

PRAYER FOR RELIEF

WHEREFORE, Plaintiffs asks that this Court award judgment against Defendants as follows:

A. Awarding compensatory, statutory and punitive damages in favor of Plaintiff against
Defendant for damages sustained as a result of the wrongdoings of Defendants, together with
interest thereon;

B. Awarding Plaintiff his costs and expenses incurred in this action, including
reasonable allowance of fees for Plaintiffs’ attorneys, experts, and reimbursement of Plaintiffs’ and
counsel expenses;

C. Granting such other and further relief as the Court deems appropriate and just.

JURY TRIAL DEMAND

Plaintiffs demand a trial by jury on all issues triable in this case

Respectfully Submitted:

RAN[}I)JES MATA, LLC

/“}/ »

fit ,:¢§Zzza 771 M@/
Rebeeea M. Rendies, Ks #16832
Candice Johnson-Bryant, D. Kan #78670
406 west 341*‘ street suite 623
Kansas City, MO 64111
rebecca@randlesmatalaw.com
candice@randlesmatalaw.com
(816) 931-9901, (816) 931-0134 (fax)

 

Attorneys for Plaintiff

16

